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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10      MAHSA PARVIZ,
                                                               CASE NO. 2:23-CV-1407-JHC-DWC
11                              Petitioner,
                v.                                             ORDER DIRECTING RESPONDENT
12                                                             TO SUPPLEMENT
        H. BARRON and C. PETERS,
13
                                Respondents.
14

15          This is a federal habeas action filed under 28 U.S.C. § 2241. In the Response, Respondent

16   asserts the petition is not yet ripe for this Court’s consideration due to the length of Petitioner’s

17   incarceration. Dkt. 42. However, the evidence provided by Respondent does not clearly show

18   Petitioner’s release date and computation data. See Dkt. 43-1. Therefore, the Court finds it would

19   be beneficial to have Respondent provide the Court with an updated Bureau of Prisons (“BOP”)

20   sentence computation and an updated First Step Act (“FSA”) Time Credit Assessment before the

21   Court proceeds to disposition of the amended petition.

22          Based on the foregoing, the Court hereby ORDERS as follows:

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     ORDER DIRECTING RESPONDENT TO
     SUPPLEMENT - 1
              Case 2:23-cv-01407-JHC Document 59 Filed 05/16/24 Page 2 of 2




 1          (1)     Respondent shall submit to the Court, not later than May 23, 2024, an updated

 2   BOP sentence computation and an updated FSA Time Credit Assessment for Petitioner.

 3          (2)     Respondent’s response to Petitioner’s federal habeas petition (Dkt. 42) is RE-

 4   NOTED on the Court’s calendar for consideration on May 23, 2024. No additional briefing on

 5   the merits will be accepted from either Respondent or Petitioner.

 6          Dated this 16th day of May, 2024.

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                                                         A
                                                         David W. Christel
 9                                                       United States Magistrate Judge

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     ORDER DIRECTING RESPONDENT TO
     SUPPLEMENT - 2
